     Case 4:95-cr-00010-BAE-GRS Document 741 Filed 03/13/09 Page 1 of 1

                                                                 FILED
                                                              flv . .TRICT C&UT

                      IN THE UNITED STATES DISTRICT
                  FOR THE SOUTHERN DISTRICT OF GEORG        9$AR 13 PM 326
                            SAVANNAH DIVISION
                                                         r LEf
                                                          '    'öThs. OF G
THE UNITED STATES OF AMERICA           )

V.                                     ) Case No. CR495-10-15
                                       )
ROBERT GREEN                           )




                                  ORDER


       IT IS HEREBY ORDERED that the above captioned case, previously

assigned to the Honorable John F. Nangle, is hereby reassigned for

plenary disposition to the Honorable B. Avant Edenfield.

       ORDERED ENTERED at Savannah, Georgia, this                       day of

March, 2009.




                                    William T. Moore, Jr.
                                    Chief United States District Judge
                                    Southern District of Georgia
